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6
7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )          2:04-cr-0378-MCE
12                  Plaintiff,     )
                                   )
13             v.                  )
                                   )          STIPULATION AND [PROPOSED] ORDER
14   RAMON RAMIREZ and             )
     OSBALDO RAMIREZ,              )
15                                 )
                    Defendants.    )
16   ______________________________)
17        It is hereby stipulated between the parties, Plaintiff United
18   States of America, by and through United States Attorney McGregor W.
19   Scott and Assistant United States Attorney Phillip A. Talbert,
20   Defendant Ramon Ramirez, through his attorney Jan David Karowsky,
21   and Defendant Osbaldo Ramirez, through his attorney Michael Long, as
22   follows:
23        It is agreed that the current Status Conference date of April
24   25, 2006 be vacated and a new Status Conference date of June 6, 2006
25   at 8:30 a.m. be set.
26        The continuance of the status conference is necessary because
27   the defendants’ attorneys need time to review audiotapes from an
28   earlier state investigation that the government recently obtained


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1    and produced in discovery, and because counsel for Defendant Ramon
2    Ramirez is scheduled to start a trial in an unrelated federal case
3    on April 25, 2006.
4         Accordingly, the parties jointly request a new status
5    conference date and that the time period from April 25, 2006, to and
6    including June 6, 2006 be excluded under the Speedy Trial Act
7    pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
8    defense preparation and based on a finding by the Court that the
9    ends of justice served by granting a continuance outweigh the best
10   interest of the public and defendant in a speedy trial.
11
                                              Respectfully submitted,
12
     Dated: April 20, 2006                   /s/Jan David Karowsky
13                                          JAN DAVID KAROWSKY
                                            Attorney for Defendant
14                                          RAMON RAMIREZ
                                          By PAT per telephone authorization
15
     Dated: April 20, 2006                   /s/Michael Long
16                                          MICHAEL LONG
                                            Attorney for Defendant
17                                          OSBALDO RAMIREZ
                                          By PAT per telephone authorization
18
19                                            McGREGOR W. SCOTT
                                              United States Attorney
20
     Dated: April 20, 2006                     /s/Phillip A. Talbert
21                                            PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
22                                            Attorney for Plaintiff
23                                      ORDER
24   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
25   Dated: April 24, 2006
26
27
28                                      _____________________________
                                        MORRISON C. ENGLAND, JR
                                        UNITED STATES DISTRICT JUDGE


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